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  SO ORDERED.

  SIGNED this 16 day of September,2015.


                                                  ___________________________________________
                                                            Stephani W. Humrickhouse
                                                          United States Bankruptcy Judge

_________________________________________________________________________

                          UNITED STATES BANKRUPTCY COURT
                        EASTERN DISTRICT OF NORTH CAROLINA
                                WILMINGTON DIVISION

  IN RE:                                          )     CASE NO: 15-01059-5-SWH
  BARRY A. MOORE and,                             )
  DORIS T. MOORE,                                 )
                  Debtors.                        )     CHAPTER 11

                                          CONSENT ORDER

        The United States of America, by and through the United

  States Attorney for the Eastern District of North Carolina, on

  behalf of the Internal Revenue Service (IRS), and the Debtors,

  Barry and Doris Moore, by and through their attorney, William H.

  Kroll, in order to resolve the IRS’ Motion to Dismiss (DE #73),

  hereby agree and stipulate to the following:

        1.        The Debtors filed this Chapter 11 bankruptcy petition

  on February 25, 2015.

        2. The IRS proof of claim (12-2), amended on June 30, 2015,

  shows   a       secured   claim   of     $246,618.04;    an    unsecured      priority

  claim      of     $667,762.60,     and     an   unsecured      general      claim     of

  $52,134.67.
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       3.   The Debtors, as taxpayers, are required to file income

 tax returns and have failed to do so for tax years 2013 and

 2014.

       4.   Due to the Debtors failure to file timely income tax

 returns, the IRS is unable to file an accurate Proof of Claim as

 it has to estimate the Debtors liability.

       5. IRS has filed an Objection to Confirmation of Debtor’s

 Chapter 11 Plan (DE #56) and a Motion to Dismiss (DE #73).

       6. Debtors agree to file the 2013 and 2014 federal income

 tax returns, with all applicable schedules and attachments, on

 or before October 1, 2015.

       7. Should Debtors fail to file the 2013 and 2014 returns by

 October 1, 2015, this case shall be dismissed without further

 motion or hearing of the Court.

       CONSENTED TO:

 /s/ G. Norman Acker, III
 G. NORMAN ACKER, III
 Attorney for IRS


 /s/ William H. Kroll
 WILLIAM H. KROLL
 Attorney for Debtors

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